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                             UNITED STATES JUDICIAL PANEL
                                          on
                              MULTIDISTRICT LITIGATION



IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                            MDL No. 2804



                                 (SEE ATTACHED SCHEDULE)



                       CONDITIONAL TRANSFER ORDER (CTO í35)



On December 5, 2017, the Panel transferred 62 civil action(s) to the United States District Court for
the Northern District of Ohio for coordinated or consolidated pretrial proceedings pursuant to 28
U.S.C. § 1407. See 290 F.Supp.3d 1375 (J.P.M.L. 2017). Since that time, 637 additional action(s)
have been transferred to the Northern District of Ohio. With the consent of that court, all such
actions have been assigned to the Honorable Dan A. Polster.

It appears that the action(s) on this conditional transfer order involve questions of fact that are
common to the actions previously transferred to the Northern District of Ohio and assigned to Judge
Polster.

Pursuant to Rule 7.1 of the Rules of Procedure of the United States Judicial Panel on Multidistrict
Litigation, the action(s) on the attached schedule are transferred under 28 U.S.C. § 1407 to the
Northern District of Ohio for the reasons stated in the order of December 5, 2017, and, with the
consent of that court, assigned to the Honorable Dan A. Polster.

This order does not become effective until it is filed in the Office of the Clerk of the United States
District Court for the Northern District of Ohio. The transmittal of this order to said Clerk shall be
stayed 7 days from the entry thereof. If any party files a notice of opposition with the Clerk of the
Panel within this 7íday period, the stay will be continued until further order of the Panel.



                                                      FOR THE PANEL:



                 Jun 06, 2018                         Jeffery N. Lüthi
                                                      Clerk of the Panel
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IN RE: NATIONAL PRESCRIPTION OPIATE
LITIGATION                                                                 MDL No. 2804



                  SCHEDULE CTOí35 í TAGíALONG ACTIONS



 DIST      DIV.      C.A.NO.       CASE CAPTION


ALABAMA SOUTHERN

  ALS       1       18í00230       City of Prichard, Alabama v. Purdue Pharma L.P. et al

CALIFORNIA EASTERN

                                   County of Tehama v. Amerisourcebergen Drug
  CAE       2       18í01221       Corporation et al

GEORGIA MIDDLE

                                   MONROE COUNTY GEORGIA v.
 GAM        5       18í00167       AMERISOURCEBERGEN DRUG CORPORATION et
                                   al
                                   WILKINSON COUNTY GEORGIA v.
 GAM        5       18í00169       AMERISOURCEBERGEN DRUG CORPORATION et
                                   al

GEORGIA NORTHERN

 GAN        1       18í02078       Gwinnett County, Georgia v. Purdue Pharma L.P. et al

MASSACHUSETTS

                                   Town of Watertown v. Amerisourcebergen Drug
  MA        1       18í10971       Corporation et al
                                   Town of Plymouth v. Amerisourcebergen Drug
  MA        1       18í10972       Corporation et al
                                   Town of Acushnet, Massachusetts v.
  MA        1       18í10982       Amerisourcebergen Drug Corporation et al
                                   City of Amesbury v. Amerisourcebergen Drug
  MA        1       18í10985       Corporation et al
                                   Town of Carver v. Amerisourcebergen Drug
  MA        1       18í10992       Corporation et al
                                   City of Chelsea v. Amerisourcebergen Drug Corporation
  MA        1       18í10994       et al
                                   City of Holyoke v. Amerisourcebergen Drug
  MA        3       18í30067       Corporation et al
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                                 Town of Southbridge v. Amerisourcebergen Drug
MA        4       18í40070       Corporation et al
                                 Town of Winchendon Massachusetts v.
MA        4       18í40071       Amerisourcebergen Drug Corporation et al
                                 Town of Auburn v. Amerisourcebergen Drug
MA        4       18í40072       Corporation et al
                                 Town of Charlton v. Amerisourcebergen Drug
MA        4       18í40075       Corporation et al
